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6                                 UNITED STATES DISTRICT COURT
7                                CENTRAL DISTRICT OF CALIFORNIA
8

9    POVILAS KARCAUSKAS, individually)               Case No. CV 15-9225 FMO (RAOx)
     and on behalf of all others similarly
                                     )
10   situated,                       )
                                     )
11                 Plaintiff,        )               ORDER RE: FINAL APPROVAL OF CLASS
                                     )               ACTION SETTLEMENT
12            v.                     )
                                     )
13   REGRESO FINANCIAL SERVICES LLC, )
     et al.,                         )
14                                   )
                   Defendants.       )
15                                   )
16          Having reviewed and considered Plaintiff’s Motion for Final Approval of the [Class Action]
17   Settlement, (Dkt. 125, “Motion”), and Plaintiff’s Uncontested Motion for an Award of Class
18   Representative Incentive Payment and Attorney’s Fees and Costs, (Dkt. 123, “Fees Motion”), and
19   the oral argument presented during the final fairness hearing held on August 22, 2019, the court
20   concludes as follows.
21                                           BACKGROUND
22          On November 30, 2015, plaintiff Povilas Karcauskas (“plaintiff” or “Karcauskas”) filed a
23   class action complaint against defendants Regreso Financial Services LLC (“Regreso”); Goldsmith
24   & Hull, APC (“Goldsmith & Hull”); and William I. Goldsmith (“Goldsmith”) (collectively,
25   “defendants”),1 asserting violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.
26
        1
27        On March 1, 2018, the court granted the unopposed motion to dismiss plaintiff’s individual
     and class claims as to Regreso. (See Dkt. 111, Court’s Order of March 1, 2018, at 6). Thus, the
28   reference to defendants shall be to Goldsmith & Hull and Goldsmith.
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1    §§ 1692, et seq., and the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civil

2    Code §§ 1788.10, et seq. (See Dkt. 1, Complaint at ¶ 24). In pertinent part, plaintiff alleges that

3    he received a debt collection letter: (1) incorrectly naming a creditor with no involvement in
4    collecting the subject debt, (see id. at ¶ 18); and (2) seeking to collect a debt on behalf of an entity
5    that was suspended by the California Secretary of State. (See id. at ¶¶ 12-14).
6            After extensive litigation, which included the filing of several motions, including a motion for
7    class certification, (see Dkt.84), and motions to compel discovery, (see Dkts. 60-63), the parties
8    settled the case in September, 2017. (See Dkt. 92, Status Report Re Settlement). The parties
9    have defined the settlement class as “(i) all persons having an address within the state of
10   California (ii) who were sent a communication from Defendants Goldsmith & Hull or William I.
11   Goldsmith in the form of Exhibit A (attached to the Complaint) (iii) when a wage garnishment order
12   had not been obtained (iv) to recover a debt incurred for personal, family, or household purposes
13   (v) which was not returned undelivered by the United States Postal Service (vi) during the period
14   of time one year prior to the filing of the Complaint through Preliminary Approval Date.” (Dkt. 112-
15   3, Settlement Agreement at § III.B.1; Dkt. 122, Court’s Order of February 8, 2019, (“Preliminary
16   Approval Order” or “PAO”) at 14).
17           The relief available to the class, which involves approximately 1,072 class members, will
18   come from a non-reversionary $20,000 settlement fund, which will be distributed on a pro rata
19   basis. (See Dkt. 112-3, Settlement Agreement at § IV.B; Dkt. 122, PAO at 15). The settlement
20   “amount equal[s] . . . approximately 1% of [Goldsmith & Hull and Goldsmith’s] net worth[.]” (See
21   Dkt. 112-3, Settlement Agreement at § IV.B; Dkt. 122, PAO at 15). Any unpaid sums will be
22   distributed as a cy pres award to (a) the National Consumer Law Center and/or (b) the National
23   Association of Consumer Advocates.           (See Dkt. 112-3, Settlement Agreement at § IV.B).
24   Defendants will separately pay plaintiff’s attorney’s fees and costs, subject to the court’s approval,
25   (see id. at § V), as well as the costs of the settlement administrator, not to exceed $10,000. (See
26   id. at § VII).
27           On February 8, 2019, the court granted preliminary approval of the settlement, appointed
28   First Class, Inc. (“First Class”) as settlement administrator, and directed First Class to provide

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1    notice to the class members. (See Dkt. 122, PAO at 21-22; Dkt. 120-1 (approved class Notice)).

2    After the court issued its Preliminary Approval Order, First Class implemented the notice program

3    approved by the court. (See Dkt. 124, Declaration of Bailey Hughes (“Hughes Decl.”) at ¶ 5; Dkt.

4    122, PAO at 19-21 (approving notice program)). Specifically, on April 5, 2019, after checking and
5    updating addresses via a National Change of Address search, First Class sent notice to 1,070
6    class members via U.S. Mail. (See Dkt. 124, Hughes Decl. at ¶¶ 3-5; see also Dkt. 122, PAO at
7    22; Dkt. 120-1 (approved Notice)). There were eight requests for exclusion and no objections.
8    (See Dkt. 124, Hughes Decl. at ¶¶ 10-11). Given the low number of exclusions and the notices
9    that were ultimately undeliverable, each class member will receive $19.94. (See Dkt. 125, Motion
10   at 9).
11             Plaintiff now seeks: (1) final approval of the settlement; (2) attorney’s fees and costs; and
12   (3) an incentive payment for plaintiff. (See Dkt. 125, Motion; Dkt. 123, Fees Motion).
13                                            LEGAL STANDARD
14             Federal Rule of Civil Procedure 23 provides that “[t]he claims, issues, or defenses of a
15   certified class may be settled . . . only with the court’s approval.” Fed. R. Civ. P. 23(e). “The
16   primary concern of [Rule2 23(e)] is the protection of th[e] class members, including the named
17   plaintiffs, whose rights may not have been given due regard by the negotiating parties.” Officers
18   for Justice v. Civil Serv. Comm’n of City & Cty. of S.F., 688 F.2d 615, 624 (9th Cir. 1982).
19   Whether to approve a class action settlement is “committed to the sound discretion of the trial
20   judge[,]” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992), who must examine
21   the settlement for “overall fairness[.]” In re Hyundai and Kia Fuel Economy Litig., 926 F.3d 539,
22   569 (9th Cir. 2019). The court may not “delete, modify or substitute certain provisions.” Id.
23   (internal quotation marks omitted). “The settlement must stand or fall in its entirety.” Officers for
24   Justice, 688 F.2d at 630.
25             In order to approve a settlement in a class action, the court must conduct a two-step
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              All “Rule” references are to the Federal Rules of Civil Procedure.

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1    inquiry.3 First, it must determine whether the notice requirements of Rule 23(c)(2)(B) have been

2    satisfied. Second, it must conduct a hearing to determine whether the settlement agreement is

3    “fair, reasonable, and adequate.” See Fed. R. Civ. P. 23(e)(2); Staton v. Boeing Co., 327 F.3d

4    938, 959 (9th Cir. 2003) (discussing the Rule 23(e)(2) standard).
5           In determining whether a settlement is fair, adequate, and reasonable, the court must weigh
6    some or all of the following factors: “(1) the strength of the plaintiff’s case; (2) the risk, expense,
7    complexity, and likely duration of further litigation; (3) the risk of maintaining class action status
8    throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery completed
9    and the stage of the proceedings; (6) the experience and views of counsel; (7) the presence of a
10   governmental participant; and (8) the reaction of the class members of the proposed settlement.”
11   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (quoting Churchill Vill.,
12   L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)).
13          However, when “a settlement agreement is negotiated prior to formal class certification,
14   consideration of these eight . . . factors alone is not enough to survive appellate review.”
15   Bluetooth, 654 F.3d at 946 (emphasis in original). This is because, “[p]rior to formal class
16   certification, there is an even greater potential for a breach of fiduciary duty owed the class during
17   settlement.” Id.; see Koby v. ARS Nat. Servs., Inc., 846 F.3d 1071, 1079 (9th Cir. 2017) (“When,
18   as here, a class settlement is negotiated prior to formal class certification, there is an increased
19   risk that the named plaintiffs and class counsel will breach the fiduciary obligations they owe to
20   the absent class members.”). District courts, therefore, also must determine “that the settlement
21   is not the product of collusion among the negotiating parties.” Bluetooth, 654 F.3d at 947 (internal
22   quotation and alteration marks omitted). In making that determination, courts should look for signs
23   of collusion, including “(1) when counsel receive a disproportionate distribution of the settlement,
24

25     3
          If the class action is governed by the Class Action Fairness Act (“CAFA”), the court must also
26   assess whether CAFA’s notice requirements have been met. See 28 U.S.C. § 1715(d). Here,
     defendants provided the CAFA Notice, (see Dkt. 121, Certificate of Service Re: Notice to
27   Appropriate Federal and State Officials [] at ¶¶ 2 & Exh. A), and received no objections to the
     settlement from the state and federal officials that received the CAFA Notice. (See Dkt. 125-4,
28   Joint Notice of Non-Receipt of Any Objection at ¶¶ 1-2).

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1    or when the class receives no monetary distribution but class counsel are amply rewarded[;]” “(2)

2    when the parties negotiate a ‘clear sailing’ arrangement providing for the payment of attorneys’

3    fees separate and apart from class funds[;]” and “(3) when the parties arrange for fees not

4    awarded to revert to defendants rather than be added to the class fund[.]” Id. (internal quotation

5    marks and citations omitted).
6                                               DISCUSSION
7    I.     FINAL APPROVAL OF CLASS SETTLEMENT.
8           A.     Class Certification.
9           In its order granting preliminary approval, the court certified the class pursuant to Rule
10   23(b)(3). (See Dkt. 122, PAO at 6-13, 21). Because circumstances have not changed, the court
11   hereby affirms its order certifying the class for settlement purposes under Rule 23(e). See, e.g.,
12   Gonzalez v. BMC West, LLC, 2018 WL 6318832, *5 (C.D. Cal. 2018) (“In its Preliminary Approval
13   Minute Order, the Court certified the Settlement Class in this matter under Rules 23(a) and
14   23(b)(3).   Accordingly, the Court need not find anew that the settlement class meets the
15   certification requirements of Rule 23(a) and (b).”) (internal quotation marks omitted).
16          B.     Rule 23(c) Notice Requirements.
17          Class actions brought under Rule 23(b)(3) must satisfy the notice provisions of Rule
18   23(c)(2) and, upon settlement of a class action, “[t]he court must direct notice in a reasonable
19   manner to all class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1).
20   Rule 23(c)(2) requires the “best notice that is practicable under the circumstances, including
21   individual notice” of particular information. See Fed. R. Civ. P. 23(c)(2)(B) (enumerating notice
22   requirements for classes certified under Rule 23(b)(3)).
23          After undertaking the required examination, the court approved the form of the proposed
24   class notice. (See Dkt. 122, PAO at 19-21; Dkt. 120-1 (approved Notice)). As discussed above,
25   the notice program was implemented by First Class. (See Dkt. 124, Hughes Decl. at ¶¶ 3-9).
26   Accordingly, based on its prior findings and the record before it, the court finds that the class
27   notice and the notice process fairly and adequately informed the class members of the nature of
28   the action, the terms of the proposed settlement, the effect of the action and release of claims, the

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1    class members’ right to exclude themselves from the action, and their right to object to the

2    proposed settlement. (See Dkt. 122, PAO at 19-21).

3           C.     Whether the Class Settlement is Fair, Adequate and Reasonable.
4                  1.     The Strength of Plaintiff’s Case, and the Risk, Expense, Complexity,
5                         and Duration of Further Litigation.
6           In evaluating the strength of the case, the court should assess “objectively the strengths
7    and weaknesses inherent in the litigation and the impact of those considerations on the parties’
8    decisions to reach [a settlement].” Adoma v. Univ. of Phoenix, Inc., 913 F.Supp.2d. 964, 975
9    (internal quotation marks omitted). “In assessing the risk, expense, complexity, and likely duration
10   of further litigation, the court evaluates the time and cost required.” Id. at 976.
11          Here, in granting preliminary approval of the settlement, the court recognized the “risks of
12   continued litigation [were] significant” and that weighed against those risks, and coupled with the
13   “costs and delay associated with continued litigation,” the “benefits to the class” were within the
14   range of reasonableness. (See Dkt. 122, PAO at 15-16). The settlement here affords class
15   members monetary benefits in the face of various defenses to plaintiff’s claims and defendant’s
16   net worth. (See id. at 15-16; Dkt. 125, Motion at 12-13); 15 U.S.C. § 1692k(a)(2)(B) (Recovery
17   in FDCPA class actions is limited to $1,000 statutory damages for each named plaintiff, and the
18   lesser of $500,000 or one percent of the net worth of the “debt collector” defendant); see, e.g.,
19   Schuchardt v. Law Office of Rory W. Clark, 2016 WL 232435, *10 (N.D. Cal. 2016) (holding that
20   “net worth” for the purposes of the FDCPA means balance sheet net worth, not fair market net
21   worth including goodwill) (citing Sanders v. Jackson, 209 F.3d 998, 1000 (7th Cir. 2000)); Harper
22   v. Law Office of Harris & Zide LLP, 2017 WL 995215, *4 (N.D. Cal. 2017).                Under the
23   circumstances, the court finds it significant that the class members will receive “immediate
24   recovery by way of the compromise to the mere possibility of relief in the future, after protracted
25   and expensive litigation.” Nat’l Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 526
26   (C.D. Cal. 2004) (internal quotation marks omitted). In short, the court finds that this factor
27   supports a finding that the settlement is fair, adequate, and reasonable.
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1                  2.     The Risk of Maintaining Class Action Status Through Trial.

2           In its order granting preliminary approval, the court certified the class pursuant to Rule

3    23(b)(3). (See Dkt. 122, PAO at 6-13, 21). In deciding whether to certify the class for settlement

4    purposes, the court determined that the requirements of Rule 23 for settlement purposes have
5    been met. (See id.); Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620, 117 S.Ct. 2231, 2248
6    (1997) (“Confronted with a request for settlement-only class certification, a district court need not
7    inquire whether the case, if tried, would present intractable management problems[.]”). Nothing
8    has been put forth to challenge or otherwise undermine the court’s previous order certifying the
9    class for settlement purposes under Rule 23(e). See In re Apollo Grp. Inc. Sec. Litig., 2012 WL
10   1378677, *4 (D. Ariz. 2012) (“The Court has previously certified, pursuant to Rule 23 of the
11   Federal Rules of Civil Procedure, and hereby reconfirms its order certifying a class.”).
12   Accordingly, this factor weighs in favor of approving the settlement.
13                 3.     The Amount Offered in Settlement.
14          “[T]he very essence of a settlement is compromise, a yielding of absolutes and an
15   abandoning of highest hopes.” Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir.
16   1998) (internal quotation marks omitted). In granting preliminary approval of the settlement, the
17   court concluded that the settlement benefits were fair, adequate, and reasonable in light of the
18   litigation risks in the case. (See Dkt. 122, PAO at 13-16); see, e.g., Harper v. Law Office of Harris
19   & Zide LLP, 2017 WL 995215,*4 (N.D. Cal. 2017) (“Each class member will receive $10.”) (citing
20   Schuchardt v. Law Office of Rory W. Clark, 314 F.R.D. 673, 684 (N.D. Cal. 2016) (approving class
21   action settlement awarding $15.10 per class member “where Plaintiffs’ potential recovery [was]
22   limited by Defendant‘s more modest net worth.”)); Calderon v. Wolf Firm, Inc., 2018 WL 6843725,
23   *2 (C.D. Cal. 2018) (granting final approval to FDCPA/RFDCPA class action settlement in which
24   class members would receive $15.66 each). Accordingly, this factor also weighs in favor of final
25   approval.
26                 4.     The Extent of Discovery Completed and the Stage of Proceedings.
27          “A settlement following sufficient discovery and genuine arms-length negotiation is
28   presumed fair.” Nat’l Rural Telecomms. Coop., 221 F.R.D. at 528. “A court is more likely to

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1    approve a settlement if most of the discovery is completed because it suggests that the parties

2    arrived at a compromise based on a full understanding of the legal and factual issues surrounding

3    the case.” Id. at 527 (internal quotation marks omitted). The court previously examined these

4    factors at length, noting that the parties had engaged in “highly contested discovery,” (see Dkt.
5    122, PAO at 14), and “thoroughly investigated and considered their own and the opposing parties’
6    positions[,]” (id.), which enabled them to develop “a sound basis for measuring the terms of the
7    settlement against the risks of continued litigation[.]” (Id.). In other words, the parties entered the
8    settlement discussions with a substantial understanding of the factual and legal issues from which
9    they could advocate for their respective positions. See Nat’l Rural Telecomms., 221 F.R.D. at
10   527-28 (noting that parties’ examination of the factual and legal bases of the disputed claims
11   through completion of discovery “strongly militates in favor of the Court’s approval of the
12   settlement”); Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 447 (E.D. Cal. 2013) (“What
13   is required is that sufficient discovery has been taken or investigation completed to enable counsel
14   and the court to act intelligently.”) (internal quotation marks omitted). This factor also supports
15   approval of the settlement.
16                 5.      The Experience and Views of Counsel.
17          “Great weight is accorded to the recommendation of counsel, who are most closely
18   acquainted with the facts of the underlying litigation. This is because parties represented by
19   competent counsel are better positioned than courts to produce a settlement that fairly reflects
20   each party’s expected outcome in the litigation.” Nat’l Rural Telecomms., 221 F.R.D. at 528
21   (internal quotation marks and citation omitted). Here, class counsel view the settlement as “fair,
22   reasonable and adequate” and “in the best interests” of the class. (See Dkt. 125-1, Declaration
23   of Robert Stempler in Support of Motion for Final Approval [] (“Stempler Decl.”) at ¶ 7). The court
24   has previously noted that class counsel are adequate. (See Dkt. 122, PAO at 10). Thus, this
25   factor also supports approval of the settlement.
26                 6.      The Presence of a Governmental Participant.
27          There is no government participant in this matter. Accordingly, this factor is inapplicable.
28   See Wren v. RGIS Inventory Specialists, 2011 WL 1230826, *10, supplemented by 2011 WL

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1    1838562 (N.D. Cal. 2011) (noting that lack of government entity involved in case rendered this

2    factor inapplicable to the analysis).

3                  7.     The Reaction of Class Members to the Proposed Settlement.

4           “It is established that the absence of a large number of objections to a proposed class

5    action settlement raises a strong presumption that the terms of a proposed class settlement action

6    are favorable to the class members.” Nat’l Rural Telecomms., 221 F.R.D. at 529. Here, the

7    reaction of the class has been very positive. There were only eight requests for exclusion and no
8    objections to the settlement. (See Dkt. 124, Hughes Decl. at ¶¶ 10-11). The lack of objections
9    and limited requests for exclusion support approval of the settlement. See, e.g., Franco v. Ruiz
10   Food Prods., Inc., 2012 WL 5941801, *14 (E.D. Cal. 2012) (finding this factor weighed in favor of
11   approval when only two out of 2,055 class members – less than one percent – opted out, and
12   there were no objections to the settlement); Gong-Chun v. Aetna Inc., 2012 WL 2872788, *16
13   (E.D. Cal. 2012) (settlement approved when less than two percent of the class members opted
14   out and no objections were received); Barcia v. Contain-A-Way, Inc., 2009 WL 587844, *4 (S.D.
15   Cal. 2009) (finding this factor weighed in favor of approval of settlement when there were only 56
16   opt outs and no objections out of the 2,385 class members).
17   II.    ATTORNEY’S FEES, COSTS AND SERVICE AWARD.
18          The Settlement Agreement provides that defendants will pay class counsel $200,000 as
19   attorney’s fees and costs pursuant to the FDCPA and RFDCPA. (See Dkt. 112-3, Settlement
20   Agreement at § V).
21          A.     Attorney’s Fee Award.
22          Rule 23(h) provides that, “[i]n a certified class action, the court may award reasonable
23   attorney’s fees . . . that are authorized by law or by the parties’ agreement.” Fed. R. Civ. P. 23(h).
24   As a fee-shifting statute, “[t]he FDCPA’s statutory language makes an award of fees mandatory.”
25   Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008) (internal quotation marks
26   omitted). Class counsel seek fees using the lodestar method, which the court agrees is the proper
27   method in this action. See Calderon, 2018 WL 6843725, at *4 (using lodestar method in FDCPA
28   class action settlement).

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1           Under the lodestar method, the court multiplies the number of reasonable hours expended

2    by a reasonable hourly rate. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1988).

3    Once the lodestar has been determined, the “figure may be adjusted upward or downward to
4    account for several factors including the quality of the representation, the benefit obtained for the
5    class, the complexity and novelty of the issues presented, and the risk of nonpayment.” Id.
6           Having reviewed class counsel’s submission in connection with the Fees Motion, the court
7    finds the $200,000 in requested attorney’s fees and costs appropriate given the extensive work
8    performed in this action, including the filing of a motion for class certification, and the prevailing
9    rates in the community for lawyers of comparable skill, experience, and reputation. (See Dkt. 123,
10   Fees Motion at 18-21 & Exh. A; Dkt. 123-1, Declaration of O. Randolph Bragg in Support of
11   Plaintiff[’s] Motion for an Award of Class Representative Incentive Payment and Attorney’s Fees
12   and Costs (“Bragg Decl.”) at ¶¶ 17-21 & Exh. A (billing records); Dkt. 123-2, Declaration of Robert
13   Stempler in Support of Plaintiff[’s] Motion for an Award of Class Representative Incentive Payment
14   and Attorney’s Fees and Costs (“Stempler Fees Decl.”) at ¶¶ 15-17 & Exh. 1 (billing and costs
15   report)). Indeed, class counsel’s actual lodestar in this action as of the filing of the Fees Motion
16   was $361,080, (see Dkt. 123, Fees Motion at 8-10, 26; Dkt. 125, Motion at 10; Dkt. 123-1, Bragg
17   Decl. at ¶ 19 (201.7 hours x $600 = $121,020); Dkt. 123-2 at ¶ 17 (400.1 hours x $600 =
18   $240,060)), less than their actual requested award. In short, the requested attorney’s fee award
19   is fair and reasonable.4
20          B.     Class Representative Service Award.
21          “[N]amed plaintiffs, as opposed to designated class members who are not named plaintiffs,
22   are eligible for reasonable incentive payments.” Staton, 327 F.3d at 977; see Wren, 2011 WL
23   1230826, at *31 (“It is well-established in this circuit that named plaintiffs in a class action are
24   eligible for reasonable incentive payments, also known as service awards.”). Here, plaintiff
25   requests that the court grant a service award in the amount of $5,000. (See Dkt. 123, Fees Motion
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          Class counsel’s costs of $5,012 are included in the $200,000 request. The court finds the
28   costs incurred by class counsel to be reasonable.

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1    at 15).

2              In its order granting preliminary approval of the settlement, the court undertook an

3    examination of the fairness and adequacy of the service award at issue, applying the careful

4    scrutiny required in this Circuit. (See Dkt. 122, PAO at 17-19); see also Radcliffe v. Experian Info.

5    Sols. Inc., 715 F.3d 1157, 1163 (9th Cir. 2013) (instructing “district courts to scrutinize carefully
6    the awards so that they do not undermine the adequacy of the class representatives”). Based on
7    its review of the record, the court determined that a service award of $3,000 was reasonable and
8    did not create a conflict of interest between named plaintiff and absent class members. (See Dkt.
9    122, PAO at 17-19). The court sees no reason to depart from its previous determination.
10   Therefore, the court concludes that a service payment of $3,000 (see Dkt. 125, Motion at 10
11   (noting court’s award of $3,000)), is fair and reasonable, and is hereby approved.
12                                                CONCLUSION
13             Based on the foregoing, IT IS ORDERED THAT:
14             1. Plaintiff’s Motion for Final Approval of the [Class Action] Settlement (Document No.
15   125) is granted as set forth herein.
16             2. The court hereby grants final approval to the parties’ Settlement Agreement (Document
17   No. 112-3). The court finds that the Settlement Agreement is fair, adequate and reasonable,
18   appears to be the product of arm’s-length and informed negotiations, and treats all members of
19   the class fairly. The parties shall perform their obligations pursuant to the terms of the Settlement
20   Agreement and this Order.
21             3. Plaintiff’s Uncontested Motion for an Award of Class Representative Incentive Payment
22   and Attorney’s Fees and Costs (Document No. 123) is granted as set forth herein.
23             4. The following class is certified under Federal Rule of Civil Procedure 23(c) for settlement
24   purposes: “(i) all persons having an address within the state of California (ii) who were sent a
25   communication from Defendants Goldsmith & Hull or William I. Goldsmith in the form of Exhibit
26   A (attached to the Complaint) (iii) when a wage garnishment order had not been obtained (iv) to
27   recover a debt incurred for personal, family, or household purposes (v) which was not returned
28   undelivered by the United States Postal Service (vi) during the period of time one year prior to the

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1    filing of the Complaint through Preliminary Approval Date.”

2           5. The form, manner, and content of the Class Notice meet the requirements of Federal

3    Rules of Civil Procedure 23(c)(2).

4           6. Plaintiff Povilas Karcauskas shall be paid a statutory award of $2,000 and an incentive

5    payment of $3,000 for a total award of $5,000 in accordance with the terms of the Settlement

6    Agreement and this Order.

7           7. Class counsel shall be paid $200,000.00 in attorney’s fees and costs in accordance with

8    the terms of the Settlement Agreement.

9           8. The Claims Administrator, First Class, shall be paid for its fees and expenses in

10   accordance with the terms of the Settlement Agreement.

11          9. The court approves the designation of National Consumer Law Center and the National

12   Association of Consumer Advocates as the cy pres beneficiaries pursuant to the Settlement

13   Agreement.
14          10. All class members who did not validly and timely request exclusion from the settlement
15   have released their claims, as set forth in the Settlement Agreement, against any of the released
16   parties (as defined in the Settlement Agreement).
17          11. Except as to any class members who have validly and timely requested exclusion, this
18   action is dismissed with prejudice, with all parties to bear their own fees and costs except as
19   set forth herein and in the prior orders of the court.
20          12. Without affecting the finality of this Order in any way, the court hereby retains
21   jurisdiction over the parties, including class members, for the purpose of construing, enforcing, and
22   administering the Order and Judgment, as well as the Settlement Agreement itself.
23          13. Judgment shall be entered accordingly.
24   Dated this 12th day of November, 2019.
25

26                                                                        /s/
                                                                   Fernando M. Olguin
27                                                              United States District Judge
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